Case: 4:23-cr-00270-HEA-SPM Doc. #: 13 Filed: 05/31/23 Page: 1 of 2 PageID #: 22



 I was a 16-year-old girl, coming from Germany to stay with Joseph thinking I would live in a safe
 home. However, this turned out not to be the case as Joseph decided to set up cameras in my
 bathroom and in school to be able to spy on me. He did this with the intention of filming me naked
 and in my private acts, and he succeeded. Not only was he making child pornography with my videos,
 but he was also sharing them online with others.

 During my stay in 2019/2020 he continued to make inappropriate comments about his sex life and
 was interested to know more about mine and I was not the only minor that he was asking those
 questions. Sadly, this continued however I never wanted to talk to him about it since it is none of his
 business. Additionally, during my stay, I caught him going through my phone and I later found out
 that he was stalking my location even when I was back in Germany.

 Joseph has known now for four days that he wanted to turn himself in, but he waited to do so until
 my birthday. By doing that he actively decided to harass me again. As I know he 100% knows that it is
 my birthday today. He chose this as a reminder of what he did and not make me forget about it, even
 on a day where I was supposed to be happy.

 This is why I am asking the judge not to allow Joseph to bond out but to remain detained until the
 case is resolved.

 Joe did not give me a say in any of his bad decisions.
 Joe did not give me the chance to speak up and stand up for myself.

 Joe chose to make, possess, and share child pornography. HE ACTIVELY MADE THIS DECISION AND
 CONTINUED FOR A LONG TIME!

 I was not given chances in this whole matter, and neither should Joseph.
 I was not able to tell him to not film me and not to share those videos or even to possess those
 videos. And he does not deserve a say in what is going to happen to him either.

 I was thrown into a situation without a free will.
 He WANTED to film me, he wanted to share those videos. He wanted it. I did not know about him
 filming me. I did not want it and I did not ask for it.
 He wanted to continue, and he did for multiple years even after I went back to Germany.

 I am unable to be alone since I found out about it.
 I am unable to focus on my studies, which has led me to fail my exams.
 I gained anxiety, depression, trust issues and I was broken by a man who I believed was a good man.

 The things Joe did to me are things I have to live with forever.
 He sentenced me to always remember the horrible things he did to me. Filming a 16-year-old girl in
 her private act is horrible.

 I know that this feeling of someone constantly watching me will never go away.
Case: 4:23-cr-00270-HEA-SPM Doc. #: 13 Filed: 05/31/23 Page: 2 of 2 PageID #: 23



 I must learn how to live with those consequences, and I must be the one adjusting my life because of
 something I did not even approve of.
 This is why I am asking you, the judge to put Joseph away as long as possible and to take
 responsibility for his actions.
